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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                  )       CRIMINAL NO. 22-CR-100 (SRN/ECW)
                                           )
       v.                  Plaintiff,      )
                                           )    DEFENDANT’S MOTION FOR
                                                MENTAL HEALTH EXAMINATION
JULYEN ALONZO MARTIN,                      )    PURSUANT TO 18 U.S.C. § 4241(a)
                                           )
                         Defendant.        )

      Defendant, Julyen Alonzo Martin, through his undersigned counsel, respectfully moves

the Court for an Order directing the defendant to undergo a mental health examination pursuant

to 18 U.S.C. § 4241(a), in order to determine defendant’s mental competency.

        Defense counsel has reason to believe the defendant may presently be suffering from a

 mental disease or defect rendering him mentally incompetent to the extent that he is unable to

 understand the nature and consequences of the proceedings against him or to assist properly in

 his defense. Accordingly, the undersigned, on behalf of the defendant, so moves the Court to

 order a mental health examination pursuant to 18 U.S.C. § 4241(a).

                                            Respectfully submitted,

                                            DEVORE LAW OFFICE, P.A.

Dated: November 3, 2022                     s/Kevin W. DeVore
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                                            Attorney for Defendant Julyen Alonzo Martin
